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  TROY LAW, PLLC
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  Attorney for the Plaintiff,

  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF INDIANA
  INDIANAPOLIS DIVISION                                      Case No. 23-cv-00752
  ---------------------------------------------------------X
  KUN DUAN
  on his own behalf and on behalf of others simularly
                                                             DECLARATION OF JOHN
  situated                                                   TROY IN SUPPORT OF
                                      Plaintiff,             PLAINTFF’S MOTION FOR
                                      v.                     DEFAULT JUDGMENT
  M X PAN INCORPORATED
         d/b/a Formosa Seafood Buffet
  SIU WONG PING
         a/k/a Siuwong Ping
         a/k/a Peter Pan
  MIN XIU DONG
         a/k/a Minxiu Dong
                                      Defendants.
  ---------------------------------------------------------X
I, JOHN TROY, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that:

        1.      I am the principal attorney of Troy Law PLLC, and present this declaration in

support of Plaintiffs Motion for Default Judgement against defendant’s M X Pan Incorporated;

Siu Wong Ping; and Min Xiu Dong (Hereinafter referred to as “Defendnats”)

        2.      Plaintiff filed a Complaint against defendants on May 2, 2023, alleging

Retaliation pursuant to Section 215 and 216 of the Federal Labor Standards Act (FLSA) and Title

22 of the Indiana Code. See Dkt. No. 1, see also Exhibit 1.

        3.      The summons was issued against the defendants on May 7, 2023, and defendants

were served with the summons and complaint on May 20, 2023, by serving a summons and




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complaint on defendants Min Xiu Dong and affidavit of service were filed on May 20, 2023. See

Dkt. No. 7-9; see also Exhibits 2-4.

        4.      Defendants’ time to move or answer with respect to plaintiffs’ complaint was

until and included June 20, 2023.

        5.      On June 20, 2023, defendants failed to file an answer or move with respect to

plaintiffs’ complaint and did not request for an extension of time to do so.

        6.      On August 29, 2023, plaintiffs requested for Clerks Certificate of Default against

Defendants for their failure to move with respect to plaintiffs’ complaint and was granted their

Clerks Entry of Default on September 25, 2023. See Dkt. No. 15 (Clerk’s Entry), see also Exhibit

5.

        7.      As a result of defendant’s failure to move with respect to plaintiffs’ complaint,

plaintiff now moves for default judgement against defendants.

        8.      The court should find that they are entitled to default judgment against defendants

for defendants have been provided notice of the Complaint against them and have failed to move

or answer with respect to it.

        9.      Defendants have had sufficient time to move with respect to plaintiffs’ complaint

and even as plaintiff present this motion now defendants have failed to move with respect to

plaintiff’s complaint.

        10.     The court should further find that plaintiff is entitled to the damages that he seeks

from defendants due to their retaliation towards plaintiff because of him initiating a Wage and

Hour lawsuit against them.


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        11.     As explained more in depth in plaintiffs Memorandum of Law, defendant’s

actions against plaintiff meet the three-prong test to establish retaliation pursuant to the FLSA and

therefore plaintiff should be entitled to the Retaliation Damages he seeks against defendants.

        12.     Plaintiff in addition presents his Affidavit in Support for his Motion to outline the

retaliatory actions taken by the defendants against him. See Exhibit 6.

        13.     In regard to plaintiff’s damages, plaintiffs present his damage calculation in

support of his Motion for Default for the damages he seeks. See Exhibit 7.

        14.     In addition, plaintiff’s counsel presents his attorney fees and costs that he requests

along with the damages that he seeks. See Exhibit 8.

        15.     For the reasons stated above and in the accompanying affidavits and exhibits,

Plaintiff's motion for default judgment should be granted.

        16.     I declare under penalty of perjury under the laws of the United States of America,

that the foregoing is true and correct.

 Dated: September 10, 2024
        Flushing, NY

                                               /s/ John Troy
                                               John Troy
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